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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                     Plaintiffs,
       v.
                                                       Civil Action No. 1:18-cv-02340-RJL
 CVS HEALTH CORPORATION; and
 AETNA INC.,

                     Defendants.


                  CVS HEALTH’S NOTICE OF ORDER OF WITNESSES

       Pursuant to the Court’s May 31, 2019 Order that the parties identify the sequence in which

their rebuttal witnesses will testify should the parties choose to examine them, CVS Health intends

to call its witnesses in the following order:

        1. Dr. Lawrence Wu, President, NERA

        2. Dr. Alan Lotvin, Executive Vice President, CVS Health Chief Transformation Officer

        3. Terri Swanson, Vice President, Aetna Medicare Product and Part D Business

       If both CVS Health and the United States choose to examine Ms. Swanson, the parties have

agreed that CVS Health would go first.

       The United States does not oppose this witness sequence.




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Dated: June 3, 2019                        Respectfully submitted,


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